       Case 15-53700-wlh              Doc 132 Filed 07/02/15 Entered 07/02/15 09:56:04                                  Desc Ntc.
                                             Proof of Claim Page 1 of 1
                                          UNITED STATES BANKRUPTCY COURT

                                                    Northern District of Georgia


In Re: Debtor(s)
       Brenda Kay Robertson                                            Case No.: 15−53700−wlh
       78 Wall Street                                                  Chapter: 7
       Hampton, GA 30228                                               Judge: Wendy L. Hagenau

        xxx−xx−3068



                                              NOTICE SETTING DEADLINE FOR
                                                FILING PROOFS OF CLAIM




     You were previously notified that the schedules of the Debtor(s) disclosed no assets available for distribution to
creditors. The Trustee now reports that funds may be available for distribution.

     Therefore, you are hereby notified that, if you wish to participate in any distribution which may be paid from the
estate, you must file a proof of claim on or before:



                                             Non−government proof of claim: 09/30/15




                                                Government proof of claim: 09/30/15




                                                File with:
                                                United States Bankruptcy Court
                                                1340 Russell Federal Building
                                                75 Spring Street, SW
                                                Atlanta, GA 30303


         Use Official Form B10 to file a claim. Access the Forms tab at www.ganb.uscourts.gov or visit the Clerk's office for a copy.

                        If you have already filed your proof of claim, it is not necessary to refile.




                                                                                                M. Regina Thomas
                                                                                                Clerk of Court
                                                                                                U.S. Bankruptcy Court
Dated: July 2, 2015
Form ntcpoc
